     Case 3:21-cv-00202-MHL Document 10 Filed 06/02/21 Page 1 of 3 PageID# 51




                        UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                Richmond Division

CARMEN TRIANA,

                      Plaintiff,

v.                                           Civil Action No. 3:21-cv-202-MHL

CAPITAL ONE BANK (USA), N.A.,

                      Defendants.


                                   STIPULATION OF DISMISSAL

        COMES NOW, the Plaintiff, Carmen Triana, by counsel, together with Capital One Bank

(USA), N.A., by counsel and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii) hereby STIPULATE to

dismissal of the action with prejudice. The court shall retain jurisdiction for purposes of

enforcement of the settlement pursuant to Kokkonen v. Guardian Life Ins., 511 U.S. 375 (1994).

        It is so STIPULATED.

                                            Respectfully submitted,
                                            CARMEN TRIANA,

                                            By:____/s/______________________
                                            John D. Sadler Esq.
                                            VSB #80026
                                            BALLARD SPAHR LLP
                                            1909 K Street, 12th Floor
                                            Washington, DC 20006-1157
                                            (202) 661-7659 – Telephone
                                            (202) 591-0167 – Facsimile
                                            E-mail: sadlerj@ballardspahr.com
                                            Counsel for Defendant




                                            __________/s/_______________
                                            Susan Rotkis


                                               1
Case 3:21-cv-00202-MHL Document 10 Filed 06/02/21 Page 2 of 3 PageID# 52




                                 VSB #40693
                                 PRICE LAW GROUP, APC
                                 382 S. Convent Ave.
                                 Tucson, Arizona 85701
                                 Telephone: (818) 600-5506
                                 Facsimile: (818) 600-5406
                                 Email: susan@pricelawgroup.com
                                 Counsel for Plaintiff




                                   2
  Case 3:21-cv-00202-MHL Document 10 Filed 06/02/21 Page 3 of 3 PageID# 53




                                 CERTIFICATE OF SERVICE


        I hereby certify that on June 2, 2021 I electronically filed the foregoing with the Clerk of

the Court using the ECF system, which will send notice of such filing to all attorneys of record

in this matter.

                                              __________/s/_______________
                                              Susan Rotkis
                                              VSB #40693
                                              PRICE LAW GROUP, APC
                                              382 S. Convent Ave.
                                              Tucson, Arizona 85701
                                              Telephone: (818) 600-5506
                                              Facsimile: (818) 600-5406
                                              Email: susan@pricelawgroup.com
                                              Counsel for Plaintiff




                                                  3
